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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION

 VICKI BUDD, AS PERSONAL
 REPRESENTATIVE AND
 ADMINISTRATOR OF THE ESTATE
 OF JEROD SCOTT DRAPER, AND
 NEXT FRIEND TO THE
 MINOR CHILD, C.J.D.,

               Plaintiff
 V.                                                 CASE NO. 4:19-CV-0231-SEB-DML

 RODNEY SEELYE, INDIVIDUALLY
 AND IN HIS OFFICIAL CAPACITY AS
 HARRISON COUNTY SHERIFF,
 NICHOLAS SMITH, INDIVIDUALLY
 AND IN HIS OFFICIAL CAPACITY AS
 HARRISON COUNTY SHERIFF,
 ADVANCED CORRECTIONAL
 HEALTHCARE, INC., ET AL.,

               Defendants



          HARRISON COUNTY DEFENDANTS’ STATEMENT OF DEFENSES


        Defendants, Rodney Seelye, individually and in his official capacity as former Harrison

 County Sheriff, Harrison County Sheriff’s Department (hereinafter “Seelye’), and Nicholas

 Smith, individually and in his official capacity as current Harrison County Sheriff, Harrison

 County Sheriff’s Department (hereinafter “Smith”), Captain Dustin Cundall (hereinafter

 “Cundall”), Sergeant Matt Hulsey (hereinafter “Hulsey”), Lieutenant Brenden Satori (hereinafter

 “Satori”), and Michael Gregory (hereinafter “Gregory”) by counsel, for their Statement of

 Defenses filed pursuant to the Case Management Plan, state as follows:
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                                   AFFIRMATIVE DEFENSES

                                         FIRST DEFENSE

        The Harrison County Defendants did not violate a clearly established right of the Plaintiff

 and therefore are entitled to qualified immunity on all constitutional claims in this matter.

                                        SECOND DEFENSE

        The Harrison County Defendants allege the Plaintiff’s Decedent’s contributory fault bars

 the Plaintiff’s state law tort claims. Specifically, the evidence establishes the Decedent did not

 disclose his use of methamphetamines despite having a positive toxicology screen for

 methamphetamines later at the hospital or that he swallowed or otherwise introduced an entire

 bag of methamphetamine into his body prior to entering the Harrison County Jail.

                                         THIRD DEFENSE

        The evidence also establishes a physician at the Harrison County Hospital cleared the

 Decedent for incarceration following his arrest. Further, the medical care provided by employees

 and/or contractors of the Harrison County Jail was objectively reasonable.

                                       FOURTH DEFENSE

        The Defendants are immunized from the Plaintiff’s state law tort claims based on the

 immunities provided by the Indiana Tort Claims Act.

                                         FIFTH DEFENSE

        The Harrison County Defendants will also introduce evidence showing at all times

 relevant to this case, the Harrison County Defendants acted in an objectively reasonable manner

 towards the Descendent.       Further, the Harrison County Defendants will introduce evidence

 showing they acted in good faith, without malice, and within the scope of their authority and

 their conduct toward the Plaintiff and Plaintiff’s decedent was not in any way willful or in
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 reckless disregard of any constitutional, statutory or regulatory rights of the Plaintiff or

 Plaintiff’s decedent.

                                        SIXTH DEFENSE

        To the extent the Harrison County Defendants owed a legal duty to the Plaintiff or the

 Plaintiff’s decedent regarding the condition of the Plaintiff’s Decedent’s confinement, the

 evidence will show Defendants reasonably provided or made available to the Plaintiff’s

 Decedent such care, treatment, services and/or assistance required by law.

                                          SEVENTH DEFENSE

        The Harrison County Defendants reasonably relied upon the expertise of medical

 professionals regarding Plaintiff’s Decedent including but not limited to N.P. Roy Washington

 and the doctor(s) who evaluated Plaintiff’s Decedent at the Harrison County Hospital prior to the

 Decedent entering the Harrison County Jail.

                                           EIGHTH DEFENSE

        The Harrison County Defendants will introduce evidence establishing the policies,

 customs, and/or procedures of the Harrison County Sheriff’s Department were constitutional as

 they related to Plaintiff’s Decedent and no act or omission on the part of any Harrison County

 policymaker violated Plaintiff’s Decedent’s constitutional rights.

                                            NINTH DEFENSE

        Defendants’ Rodney Seelye and Nicholas Smith were not personally involved in the

 alleged constitutional violation suffered by Plaintiffs’ Decedent and therefore they cannot be

 found liable for such.
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                                          Respectfully submitted,

                                          KIGHTLINGER & GRAY, LLP

                                    By:   s/Corey J. Dunn______
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                                          Counsel for Defendants, Sheriff Nicholas Smith,
                                          Individually and in his capacity as Harrison
                                          County Sheriff, Rodney Seelye, individually and
                                          in his capacity as Harrison County Sheriff, and
                                          Harrison County Sheriff’s Department
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on the 12th day of October, 2020, a copy of the foregoing Statement
 of Defenses was filed electronically with the Court. Notice of this filing will be sent to the
 following parties by operation of the Court’s electronic filing system. Parties may access this
 filing through the Court’s system.

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                                                      s/Corey J. Dunn
                                                      R. Jeffrey Lowe/Corey J. Dunn
